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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                     DETROIT


ADAM BONAREK,

       Plaintiff                                    Case No. 2:17-cv-10070-BAF-SDO
                                                    Hon. Bernard A. Friedman
V                                                   Magistrate Judge Stephanie Dawkins Davis

AMERICAN EXPRESS,
EXPERIAN INFORMATION SOLUTIONS INC.,
TRANS UNION, LLC, and EQUIFAX INFORMATION
SERVICES, LLC.

       Defendants.
                                                                                         /

                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff, ADAM BONAREK, through his attorneys, XUEREB LAW GROUP PC, by John

R. Badeen, hereby gives notice that he is voluntarily dismissing defendant, AMERICAN EXPRESS,

with prejudice and without costs to either party pursuant to the Federal Rules of Civil Procedure

Rule 41(a)(1)(A) and 41(a)(1)(B).

                                            Respectfully submitted,

                                            XUEREB LAW GROUP PC


                                            By: _/s/ John R. Badeen______________
                                                 John R. Badeen (P71014)
                                                 Attorneys for plaintiff
                                                 7752 N. Canton Center Rd.
                                                 Suite 110
                                                 Canton, Michigan 48187
                                                 (734) 455-2000

Dated: March 21, 2017
